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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION

 

Nora Patricia Ruiz, Individually and
as Representative of the Estate of Hec- 3:17-CV-03006-RAL
tor Ruiz, Deceased, and

Hector A. Ruiz, biological son

Plaintiffs, PLAINTIFFS’ SECOND AMENDED
COMPLAINT

-VS-
TRW Vehicle Safety Systems, Inc.,

Defendant.

 

 

To the Honorable United States Judge of Said Court:

COME NOW, Nora Patricia Ruiz, Individually and as Representative of the Es-
tate of Hector Ruiz, Deceased, and Hector A. Ruiz, a biological son (hereinafter re-
ferred to as “Plaintiffs’), and file this Second Amended Complaint against TRW Ve-
hicle Safety Systems, Inc. (hereinafter referred to as “Defendant” or “TRW”).

In support hereof, Plaintiffs would state and show unto the Honorable Court the

following:

|. Parties

1. Plaintiff, Nora Ruiz, is the surviving wife of Hector Ruiz, deceased. She re-

sides in and is a citizen of Jacksonville, Texas.

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2. Plaintiff, Hector A. Ruiz is a surviving son of Hector Ruiz, deceased. He re-
sides in and is a citizen of Jacksonville, Texas.

3. Defendant, TRW Vehicle Safety Systems, Inc. is a Delaware corporation
with its principal place of business in Washington, Michigan.

4. TRW’s parent company, ZF Friedrichshafen AG, also known as ZF Group, is
headquartered in Friedrichshafen, Germany, and has over 138,000 employees
worldwide. TRW was purchased by ZF Group in 2014-2015 for approximately $13.5
billion.

5. TRW has been supplying numerous automotive parts and safety systems
(including seatbelts) to a global market for almost 6 decades. In 2013 alone, TRW
had sales of $17.4 billion.

6. TRW has approximately 200 facilities with 66,100 employees in 26 vehicle-
producing countries designing and/or manufacturing component parts for millions of
vehicles which are bound for every state in the United States, including South Da-
kota.

7. TRW designs, manufactures, tests, assembles, sells, distributes, and/or
places TRW component parts into the stream of commerce, such as the seatbelt sys-
tem in the subject vehicle involved in the incident made the basis of this suit.

including the seatbelt system at is-

 

8. TRW knows that its component parts
sue in this case—will ultimately wind up in all fifty (50) states, including the State

of South Dakota. Indeed, TRW component parts and seatbelt systems—including

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the specific seatbelt system at issue in this case—are found in tens of thousands of
vehicles in South Dakota.

9. TRW, in no way, shape, or form, ever restricted (or made a request to Ford
or its authorized dealers to restrict) the subject seatbelt system—which caused the
fatal injuries—from being distributed, sold, or used in South Dakota.

10. TRW has contracts with companies such as Ford who TRW knows will sell
its products in South Dakota, including the subject seatbelt system at issue in this
case.

11. TRW holds a significant quantity of intellectual property, including a large
number of patents, trademarks, copyrights, and trade secrets which it demands
must be honored in South Dakota.

12. Employees, officers, and/or directors of TRW have visited, lived, conducted
business, and/or worked in South Dakota numerous times.

138. TRW manufactures and/or designs its products to comply with United
States standards, including the Federal Motor Vehicle Safety Standards (FMVSS).

14. TRW has corresponded and/or worked with the National Highway Traffic
Safety Administration (NHTSA) on safety issues, including safety issues for prod-

ucts in vehicles owned and used by South Dakota residents.
ll. Jurisdiction

15. This Court has jurisdiction over the lawsuit under the provisions of 28

U.S.C. Section 1332.

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16. The parties to this lawsuit are citizens of difference states, and the matter
in controversy exceeds the sum or value of $75,000.00, exclusive of interest and
costs.

17. TRW is subject to specific jurisdiction in this Court because the claims
against TRW in this case are linked to TRW’s conduct; TRW placed the subject
seatbelt system into the stream of commerce where it ultimately ended up in South
Dakota, and the key elements of the episode-in-suit occurred in South Dakota.

18. Furthermore, TRW has purposefully availed itself in South Dakota, because
TRW’s contacts with South Dakota principally relate to the sale of component parts
in millions of vehicles and all of the conduct associated with such sales and this civil
action is related to and connected with the component part, and because due process
and fair play and substantial justice are honored by this civil action going forward
in this South Dakota Court.

19. There is little or no burden on TRW litigating this case in this South Dako-
ta Court.

20. Additionally, South Dakota has an interest in overseeing this litigation
which involves a defective product which exists and is used daily in thousands upon
thousands of vehicles in South Dakota.

21. TRW cannot deny personal jurisdiction because TRW placed the subject
product into the stream of commerce under circumstances such that TRW should

reasonably anticipate being haled into court in South Dakota.

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22. In short, TRW is in the business of the design and manufacture of compo-
nent parts, including the component part which caused the fatal injuries com-
plained of herein. TRW has purposefully availed itself of the privilege and benefits
of conducting activities within South Dakota.

23. Accordingly, TRW is therefore subject to be sued in South Dakota courts,
and exercise of personal jurisdiction is, among other things, consistent with due
process because Defendant has purposefully availed itself of the privilege of doing

business in the forum. ,

Ill. Facts

24, On or about January 21, 2015, Hector Ruiz was driving a 2006 Ford F250
(VIN#1FTSX21Y96ED93318) traveling southbound on Highway 47 near Reference
Marker 27 in Gregory County, South Dakota and was properly wearing his 3-point
restraint system.

25. The 3-point restraint system was designed by TRW Vehicle Safety Systems,
Inc.

26. The 3-point restraint system was manufactured by TRW Vehicle Safety
Systems, Inc.

27. The 3-point restraint system was also assembled and tested by TRW Vehi-
cle Safety Systems, Inc.

28. While Hector Ruiz was traveling southbound on Highway 47, the vehicle hit
a patch of black ice, lost control, skidded, traveled through a ditch, and ultimately

the vehicle rolled.

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29. At the time of the accident, Hector Ruiz was properly seated and wearing
his 3-point seat belt and had his RNS3G buckle latched.

30. However, despite being properly seated and properly wearing his 3-point
seatbelt, Hector Ruiz suffered fatal injuries when the restraint system failed to pro-
tect him because the RNS3G buckle unlatched during the accident and allowed him
to be ejected because the buckle was defective and unreasonably dangerous and it
violated several crashworthiness principles.

31. Crashworthiness is the science of preventing or minimizing serious injuries
or death following an accident through the use of the vehicle’s safety systems in-
cluding the seatbelt buckle.

32. There are five (5) recognized crashworthiness principles in the vehi-
cle/component part industry/throughout the world. They are as follows:

1. Maintain survival space;

2. Provide proper restraint throughout the entire accident;
3. Prevent ejection;

4. Distribute and channel energy; and

5. Prevent post-crash fires.

33. When the National Highway Traffie Safety Administration (NHTSA) creat-
ed the Federal Motor Vehicle Safety Standard (FMVSS) in the late 1960’s, the pre-
amble to the safety standards included a crashworthiness definition similar to that
used above, “that the public is protected against unreasonable risk of crashes occur-

ring as a result of the design, construction, or performance of motor vehicles and is

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also protected against unreasonable risk of death or injury in the event crashes do
occur.”

34. The National Transportation Safety Board (NTSB) has also stated that,
“Vehicle crashworthiness refers to the capacity of a vehicle to protect its occupants
from crash forces. This protection—which is achieved, in part, by vehicle struc-
ture—includes maintaining a survival space around the occupant, retaining the oc-
cupant within that space, and reducing the forces applied to the occupant.”

35. Crashworthiness safety systems in a vehicle must work together like links
in a safety chain. If one link fails, the whole chain fails.

36. Vehicle manufacturers and component part suppliers who supply safety
systems in vehicles have known for decades and have admitted under oath that
there is a distinction between the cause of an accident versus the cause of an injury.

37. Indeed, vehicle manufacturers and component part suppliers have known
for decades that crashworthiness is the science of preventing or minimizing injuries
or death following an accident through the use of a vehicle’s various safety sys-
tems.

38. Lee Iacocca, former President of Ford Motor Company stated, while Presi-
dent and CEO of Chrysler, that “Every American has the right to a safe vehicle.”

39. General Motors has stated in the past that, “The rich don’t deserve to be
safer ... Isn’t it time we realized safety is not just for the pampered and the privi-

leged? Safety is for all.”

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40. Volvo has stated that it has a goal that no one is killed or injured in a Volvo
vehicle by the year 2020. Volvo has also stated that, “Technologies for meeting the
goal of zero injuries and fatalities are basically known today — it is a matter of how
to apply, finance, distribute and activate.”

41. Because every American has the right to a safe vehicle, because safety is for
all, and because technologies for meeting the goal of zero injuries and fatalities are
basically known today, it is incumbent upon manufacturers to investigate and find
out what other automakers or component part suppliers are doing with regards to
safety and to apply those same methods or technology to their own vehicles or com-
ponent parts. Furthermore, an automaker or component part supplier cannot choose
to use safer technology in Europe, Australia, Japan, or some other country and re-
fuse or fail to offer that same safety technology to consumers in America.

42. It is further incumbent upon manufacturers to protect consumers by using
knowledge that a manufacturer has acquired over decades and decades of vehicle
and component part design, testing, and reverse engineering of other manufactur-
ers’ vehicles or safety systems.

43. In fact, insofar as society permits manufacturers to operate in such a way
that they are permitted to sell highly complex, potentially dangerous, and also po-
tentially highly profitable products on the market, manufacturers have a duty to do
their very best to ensure that the vehicle and its safety systems will not be harmful

to buyers, their households, or third parties.

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44. This is cemented by the fact that every state of the United States has case
law which holds that every person has a duty to exercise reasonable care to avoid a
foreseeable risk of injury to others.

45. Most Gf not all) engineering associations in the United States (and around
the world) have a code of ethics. The number 1 fundamental canon of ethics for al-
most all engineers is to “hold paramount the safety, health, and welfare of the pub-
lic.” Accordingly, since paramount means “superior to all others’, all vehicle and
component part engineers have to hold the safety, health, and welfare of the public
as their highest considerations when they design vehicles.

46. Although it is true that there are minimum performance standards which
an automaker is supposed to meet before selling a vehicle in the United States (the
FMVSS), these minimum performance standards do not adequately protect the pub-
lic.

47. Indeed, Joan Claybrook, former administrator of the NHTSA, wrote a letter
to major auto makers where she said, “Our federal safety standards are and were
intended by Congress to be minimum standards. The tragedy is that many manu-
facturers have treated the standards more like ceilings on safety performance ra-
ther than floors from which to improve safety.”

48. Additionally, in September of 2014, a Congressional report was issued in
response to the General Motors ignition switch recall. The report questioned wheth-
er NHTSA had the technical expertise, culture and analytic tools needed to address

safety issues. The report stated, “NHTSA also lacked the focus and rigor expected of

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a federal safety regulator”. It was also stated that NHTSA staff has a “lack of
knowledge and awareness regarding the evolution of vehicle safety systems they
regulate.”

49. Thus, it is clear that a prudent manufacturer’s research and analysis
should not stop with standards compliance. When it knows—or, through reasonable
diligence, should know—that a product design presents a latent hazard or foreseea-
ble risk of injury, it should go above and beyond the minimum requirements set

forth in mandatory standards, rules, and/or regulations.
IV. Cause(s) of Action as to Defendant

50. It was entirely foreseeable to and well-known by Defendant that accidents
and incidents involving its restraint systems, such as occurred herein, would on oc-
casion take place during the normal and ordinary use of said restraint system.

51. The injuries complained of occurred because the restraint system in ques-
tion was not reasonably crashworthy, and was not reasonably fit for unintended,
but clearly foreseeable, accidents. The restraint system in question was unreasona-
bly dangerous in the event it should be involved in an incident such as occurred
herein.

52. Defendant, either alone or in conjunction with some other individual(s)
and/or entity(ies), designed, manufactured, marketed, assembled, and/or tested said

restraint system in question.

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53. As detailed herein, the restraint system contains and/or Defendant has
committed either design, manufacturing, marketing, assembling, and/or testing de-
fects.

54. Defendant either knew or should have known of at least one safer alterna-
tive design which would have prevented the ejection and fatal injuries to Hector
Ruiz because its RNS8G buckle was prone to unlatch.

55. In addition to the foregoing, Defendant, either alone or in conjunction with
some other individual(s) and/or entity(ies), designed, manufactured, marketed, as-
sembled, and/or tested said restraint system in question to be unreasonably danger-
ous and defective within the meaning of Section 402(A) Restatement (Second) Torts,
in that the restraint system was unreasonably dangerous as designed, manufac-
tured, assembled, marketed, and/or tested because Defendant knew and/or should
have known of the following, non-exhaustive list of defects:

a. The vehicle’s RNS8G buckle failed to provide proper restraint
throughout the entire accident;

b. The vehicle’s RNS38G buckle failed to provide adequate protec-
tion throughout the entire accident;

c. The vehicle’s RNS38G seatbelt buckle unlatched during the ac-
cident in violation of FMVSS 209, SAE J128 and SAE J4C:

d. The vehicle’s RNS8G buckle violated principles of crashwor-
thiness by not providing proper restraint;

e. The vehicle’s RNS3G buckle violated the purpose of a seatbelt:

f. The vehicle’s RNS38G buckle via its restraint system failed to
serve the purpose of a seatbelt restraint;

g. The restraint system was defective and unreasonably danger-
ous because the RNS38G buckle was prone to unlatch during
accidents;

h. The restraint system failure was the producing cause of the
ejection, the fatal injuries and the damages;

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1. The vehicle’s RNS3G buckle via its restraint system violated
principles of crashworthiness;

j. Defendant failed to conduct adequate testing;

k. The Defendant failed to conduct thorough engineering analy-

sis;
1. Testing by Defendant has revealed that the subject RNS3G

buckle can unlatch;

m. The subject RNS3G buckle is prone to unlatch during acci-
dents;

n. The subject RNS38G buckle fails to stay buckled throughout the
entire accident;

o. The subject RNS38G buckle violated the intent and purpose of a
seatbelt buckle;

p. The subject RNS38G buckle violates principles of crashworthi-

ness;

q. The RNS8G buckle was prone to false latch because the ejector
springs are prone to fracture;

r. The actual RNS8G buckle in the subject vehicle had fractured
ejector springs;

s. The actual RNS38G buckle in the subject vehicle had experi-
enced false latching issues in the past;

t. The subject RNS3G buckle violates Ford’s corporate objectives;

and/or
u. The subject RNS38G buckle violates TRW’s corporate objec-

tives.

56. Defendant was further negligent in the design, manufacture, assembly,
marketing, and/or testing of the restraint system in question.

57. In designing a buckle restraint system, efforts should be made by manufac-
turers to identify potential risks, hazards, and/or dangers that can lead to serious
injury or death.

58. Once potential risks, hazards, and/or dangers are identified, then the poten-

tial risks, hazards, or dangers should be eliminated if possible.

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59. If the potential risks, hazards, and/or dangers can’t be eliminated, then

they should be guarded against.

60. Ifthe potential risks, hazards, and/or dangers can’t be eliminated or guard-
ed against, they should at least be warned about.

61. A company that does not conduct a proper engineering analysis that would
help it to identify potential risks, hazards, and/or dangers that could seriously in-
jure someone is negligent.

62. Based upon information and/or belief, Defendant either used or knew about
advanced safety features used in Europe, Australia, Japan and some other country
and chose not to offer those safety features to American consumers.

63. Defendant’s occupant protection philosophy and design philosophy are uti-
lized in various models, including ones sold overseas in other markets.

64. When Defendant designed the subject restraint system, it did not reinvent
the wheel. Defendant used an enormous amount of human capital which had been
acquired from numerous different engineers which had worked on many prior re-
straint systems. This knowledge would have been utilized in different aspects of the
various designs of the subject restraint system.

65. Defendant is currently in exclusive possession and control of all the tech-
nical materials and other documents regarding the design, manufacture, and test-
ing of the restraint system in question. Defendant is also in possession of what, if

any, engineering analysis it performed.

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66. However, it is expected that after all of these materials are produced in dis-
covery and/or after Defendant’s employees and corporate representatives have been
deposed, additional allegations may come to light.

67. Lastly, the materials from other models, years, and countries will provide
evidence regarding what Defendant knew, when it knew it, and about what was uti-
lized or not utilized as well as the reasons why.

68. The foregoing acts and/or omissions of Defendant were the producing, di-
rect, and/or, proximate cause of the Hector Ruiz’ ejection, fatal injuries, and Plain-

tiffs’ damages.
V. Damages to Plaintiff

69. Plaintiffs seek recovery for all available damages under any applicable
statute and/or common laws of the state of South Dakota.

70. As a result of the acts and/or omissions of Defendant, Plaintiffs have suf-
fered in the past and will in the future: loss of care, maintenance, support, services,
advise, counsel, reasonable contributions of pecuniary value, loss of companionship
and society, loss of consortium, emotional distress, and mental anguish as a result
of the death of their spouse and father Hector Ruiz.

71. The above and foregoing acts and/or omissions of Defendant, resulting in
the fatal injuries to Hector Ruiz, have caused actual damages to Plaintiffs in the ex-

cess of the minimum jurisdictional limits of this Court.

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Vi. Demand for Jury Trial

72. Plaintiffs respectfully assert their rights under the Seventh Amendment to
the United States Constitution and demand, in accordance with Federal Rule of

Civil Procedure 88, a trial by jury on all issues.

Vil. Conclusion and Prayer

73. For the reasons presented herein, Plaintiffs pray that Defendant be cited to
appear and answer, and that upon a final trial of this cause, Plaintiffs recover
judgment against Defendant for:

a. actual damages;
. economic and non-economic damages;
c. prejudgment and post-judgment interest at the maximum rate
allowed by law;
d. costs of suit; and
e. all other relief, general and special, to which Plaintiffs are en-
titled to at law and/or in equity, and/or which the Court deems

proper.

Dated 9 day of June, 2017.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that on the 9t day of June, 2017, I caused to be electronically
filed the foregoing document with the clerk of the court for the U.S. District Court,
District of South Dakota, using the electronic case filing system of the court. The
electronic case filing system sent a “Notice of Electronic Filing” to the attorneys of
record who have consented in writing to accept this Notice as service of this docu-

ment by electronic means.

Katie J. Hrusk!

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